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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 21-cv-14223



 MAIKEL CASTILLO SANCHEZ,

        Plaintiffs,

 vs.

 ABC PROFESSIONAL TREE SERVICES, INC.,

 a Foreign Profit Corporation,

       Defendant.
 ________________________________________/

                         NOTICE OF FILING PROPOSED SUMMON

        PLEASE TAKE NOTICE that Plaintiff, MAIKEL CASTILLO SANCHEZ,

 (“Plaintiff”), has filed the following: Civil Cover Sheet.

 Dated: 21 day of June, 2021                                  Respectfully submitted,


                                                       /s/: Anthony M. Georges-Pierre
                                                       Anthony M. Georges-Pierre, Esq.
                                                       Florida Bar No.: 533637
                                                       Max L. Horowitz, Esq.
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 21 2021 I electronically filed the foregoing document
 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
 served this day on all counsel of record or pro se parties identified on the attached Service List in
 the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
 or in some other authorized manner for those counsel or parties who are not authorized to receive
 electronically Notices of Electronic Filing.

 ABC Professional Tree Services, Inc.
 Through its Registered Agent
 CT Corporation System
 1200 South Pine Island Road
 Plantation, FL 33324
                                                       By: /s/: Anthony M. Georges-Pierre
                                                       Anthony M. Georges-Pierre, Esq.
                                                       Florida Bar No. 533637
                                                       Max L. Horowitz, Esq.
                                                       Florida Bar No.: 118269
